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     Preeti K. Bajwa (SBN 232484)
 2
     901 H. Street, Suite 208
 3   Sacramento, CA 95814
     (916) 444-7100
 4
 5   Attorney for Defendant
     AISHA STEVENS
 6
 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                              No. 2:10-CR-211 FCD
11
12                         Plaintiff,                      STIPULATION AND ORDER
13              vs.                                        JUDGE: Honorable Frank C. Damrell, Jr.
14
     TERRY ROBERSON et. al.,
15
16                         Defendants.
17              IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its
18   undersigned counsel, Jared Dolan, Assistant United States Attorney together with counsel for
19   defendant Terry Roberson, Douglas Beevers, Esq., counsel for defendant Cedric Roberson,
20   Bruce Locke Esq., counsel for defendant Eva Green, Olaf Hedberg, Esq., counsel for defendant
21   Aisha Stevens, Preeti K. Bajwa, Esq., counsel for defendant Anjenette Brown, Michael Bigelow,
22   Esq., counsel for defendant Vennie Abram, Scott Tedmon, Esq., counsel for defendant Volaney
23   Harris, David Fischer, Esq., counsel for defendant Felecia Edwards, Hayes Gable, Esq., counsel
24   for defendant Melissa Geddes, Dina Santos, Esq., counsel for defendant Gregory Ross, Michael
25   Hansen, Esq., counsel for defendant Kevin Wallace, Michael Chastaine, Esq., and counsel for
26   defendant Waiki Pryor, Kelly Babineau, Esq., hereby agree and stipulate that the status
27   conference presently set for January 10, 2011 be continued to February 14, 2011, at 10:00
28   a.m., thus vacating the presently set status conference.


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 1              The reason for this continuance is to allow defense counsel additional time to review
 2
     discovery with the defendant, to examine possible defenses and to continue investigating the
 3
     facts of the case.
 4
 5              Further, all of the parties, the United States of America and all of the defendants as stated

 6   above, hereby agree and stipulate that time under the Speedy Trial Act should be excluded under

 7   Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local

 8   code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time to

 9   prepare) from the date of the parties’ stipulation, January 10, 2011, to and including Monday

10   February 14, 2011.

11                             TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT

12              The parties (the government and all twelve (12) defendants) agree and stipulate that with

13   the voluminous discovery, the number of defendants involved in the case (12), the complex legal

14   issues involved in the case and the time needed by all defendants (12) to review all of the

15   discovery produced by the government to date, it is unreasonable to expect adequate preparation

16   for pretrial proceedings and trial itself within the time limits established in § 3161. In addition,

17   the parties stipulate and agree that the continuance requested herein is necessary to provide

18   defense counsel reasonable time to prepare their respective clients' defenses taking into account

19   due diligence and that the interests of justice in granting this reasonable request for a continuance

20   outweighs the best interests of the public and defendants for a speedy trial in this case, pursuant

21   to Title 18, United States Code, Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to

22   Local Code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time

23   to prepare).

24
     DATED: January 6, 2011
25                                                    Respectfully submitted,
26
                                                      /s/ Douglas Beevers_________________
27                                                    DOUGLAS BEEVERS
                                                      Attorney for Defendant
28
                                                      TERRY ROBERSON


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 1
     DATED: January 6, 2011
 2                                                    Respectfully submitted,
 3
                                                      /s/ Bruce Locke_________________
 4                                                    BRUCE LOCKE
 5                                                    Attorney for Defendant
                                                      CEDRIC ROBERSON
 6
 7
     DATED: January 6, 2011
 8
                                                      Respectfully submitted,
 9
10                                                    /s/ Olaf Hedbeg
                                                      OLAF HEDBERG
11                                                    Attorney for Defendant
12                                                    EVA GREEN

13   DATED: January 6, 2011
14                                                    Respectfully submitted,
15
                                                      /s/ Preeti K. Bajwa
16                                                    PREETI K. BAJWA
17                                                    Attorney for Defendant
                                                      AISHA STEVENS
18
19   DATED: January 6, 2011
                                                      Respectfully submitted,
20
                                                      /s/ Michael Bigelow
21
                                                      MICHAEL BIGELOW
22                                                    Attorney for Defendant
                                                      ANJENETTE BROWN
23
24   DATED: January 6, 2011

25                                                    Respectfully submitted,
26                                                    /s/ Scott Tedmon
27                                                    SCOTT TEDMON
                                                      Attorney for Defendant
28                                                    VENNIE ABRAM


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 1
     DATED: January 6, 2011
 2                                                    Respectfully submitted,
 3
                                                      /s/ David Fischer
 4                                                    DAVID FISCHER
 5                                                    Attorney for Defendant
                                                      VOLANEY HARRIS
 6
 7   DATED: January 6, 2011
                                                      Respectfully submitted,
 8
                                                      /s/ Dina Santos
 9
                                                      DINA SANTOS
10                                                    Attorney for Defendant
                                                      MELISSA GEDDES
11
12   DATED: January 6, 2011
                                                      Respectfully submitted,
13
14                                                    /s/ Michael Hansen
                                                      MICHAEL HANSEN
15                                                    Attorney for Defendant
16                                                    GREGORY ROSS
     DATED: January 6, 2011
17
                                                      Respectfully submitted,
18
19                                                    /s/ Michael Chastaine
                                                      MICHAEL CHASTAINE
20                                                    Attorney for Defendant
21                                                    KEVIN WALLACE

22   DATED: January 6, 2011
                                                      Respectfully submitted,
23
24                                                    /s/ Michael Chastaine
                                                      MICHAEL CHASTAINE
25                                                    Attorney for Defendant
26                                                    KEVIN WALLACE
27
28


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 1   DATED: January 6, 2011
                                                          Respectfully submitted,
 2
 3                                                        /s/ Kelly Babineau
                                                          KELLY BABINEAU
 4                                                        Attorney for Defendant
 5                                                        WAIKI PRYOR

 6
 7   DATED: January 6, 2011                               BENJAMIN WAGNER
                                                          United States Attorney
 8
 9                                                        _/s/ Jared Dolan
                                                          JARED DOLAN
10                                                        Assistant U.S. Attorney
11                                                        Attorney for Plaintiff

12              IT IS SO ORDERED.
13
     Dated: January 7, 2011
14
                                                     _______________________________________
15
                                                     FRANK C. DAMRELL, JR.
16                                                   UNITED STATES DISTRICT JUDGE

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